






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00390-CV






Crystal Sabrina Trujillo and Lee Adcock, Appellants



v.



Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT


NO. 209988-B, HONORABLE RICK MORRIS, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N



	Appellant Lee Adcock has filed a third motion for extension of time to file his brief
and has also requested that the appeal be abated and the cause remanded to the trial court for
additional proceedings.  Counsel for appellant Crystal Sabrina Trujillo and counsel for appellee agree
with this motion.  We note that the record does not contain a statement of points on appeal nor does
it show that the court held the required hearing within thirty days of the date that the termination
order was signed to determine whether:  (1) a new trial should be granted; (2) a party's claim of
indigence should be sustained; and (3) the appeal is frivolous.  See Tex. Fam. Code Ann.
§&nbsp;263.405(b)(d) (West Supp. 2006).  Accordingly, we abate the appeal and remand to the trial court
for further proceedings, if necessary, or to notify this Court that all necessary findings have been
made and will be transmitted in a supplemental record.

	


	The appeal is abated for ninety days from the date of this opinion.




					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear


Filed:   December 21, 2006


